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                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION OPIATE MDL No. 2804
    LITIGATION
                                                Case No. 1:17-md-2804
    This document relates to:
    Board of County Commissioners of the County Judge Dan Aaron Polster
    of Lincoln v. AmerisourceBergen Drug
                                                SHORT FORM FOR SUPPLEMENTING
    Corporation, et al.
                                                COMPLAINT AND AMENDING
                                                DEFENDANTS AND JURY DEMAND
    1:19-op-45513
    _______________________________


        Plaintiff submits this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in the Corrected Second Amended

Complaint and Jury Demand in the case of The County of Summit, Ohio, et al., v. Purdue Pharma

L.P., et al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National Prescription

Opiate Litigation, in the United States District Court for the Northern District of Ohio, Dkt #513,

5141), and as may be amended in the future, and any additional claims asserted herein. Plaintiff

also hereby amends its complaint to alter the defendants against which claims are asserted as

identified below. To the extent defendants were previously sued in plaintiff(s)’ existing complaint

and they are no longer identified as defendants herein, they have been dismissed without prejudice

except as limited by CMO-1, Section 6(e). Doc. #232.




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  Docket #513 is the redacted Summit Second Amended Complaint and Docket #514 is the
unredacted Summit Corrected Second Amended Complaint filed under seal in Case No. 1:17-
md-02804-DAP. The redacted Summit Corrected Second Amended Complaint is also filed in its
individual docket, Case No. 1:18-op-45090-DAP, Docket #24.
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           INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

        Plaintiff(s)’ Existing Complaint, Board of County Commissioners of the County of

Lincoln v. AmerisourceBergen Drug Corporation, et al. (1:19-op-45513), as may have been

previously amended, is expressly incorporated by reference to this Short Form as if fully set forth

herein except to the extent that allegations regarding certain defendants that are not listed in

section 2 below are dismissed without prejudice.

                                   PARTIES – DEFENDANTS

       1.     Having reviewed the relevant ARCOS data, Plaintiff asserts claims against the
following Defendants:
AMERISOURCEBERGEN DRUG CORPORATION, CARDINAL HEALTH, INC.,
McKESSON CORPORATION, PURDUE PHARMA L.P., PURDUE PHARMA INC, PURDUE
FREDERICK COMPANY, INC., TEVA PHARMACEUTICAL INDUSTRIES LTD., TEVA
PHARMACEUTICALS USA, INC., CEPHALON INC., JOHNSON & JOHNSON, JANSSEN
PHARMACEUTICA INC., ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC.,
JANSSEN PHARMACEUTICALS INC., NORAMCO INC, ENDO HEALTH SOLUTIONS
INC.,     ENDO     PHARMACEUTICALS           INC,   ALLERGAN           PLC,     WATSON
PHARMACEUTICALS, INC., WATSON LABORATORIES INC., ACTAVIS LLC, ACTAVIS
PHARMA, INC., MALLINCKRODT PLC, MALLINCKRODT LLC, INSYS THERAPEUTICS
INC., CVS HEALTH CORPORATION, WALGREENS BOOTS ALLIANCE INC., WALMART
INC., AMNEAL PHARMACEUTICALS, LLC, ETHEX CORPORATION, KVK-TECH, INC.,
MYLAN PHARMACEUTICALS, INC., PAR PHARMACEUTICAL, INC., PAR
PHARMACEUTICAL COMPANIES, INC., RHODES PHARMACEUTICALS, L.P., SANDOZ,
INC., SPECGX, LLC, AND WEST-WARD PHARMACEUTICALS CORPORATION.

I, Anthony J. Majestro, Counsel for Plaintiff(s), certify that in identifying all Defendants, I
have followed the procedure approved by the Court and reviewed the ARCOS data that I
understand to be relevant to Plaintiff(s). I further certify that, except as set forth below, each
of the Defendant(s) newly added herein appears in the ARCOS data I reviewed.
I understand that for each newly added Defendant not appearing in the ARCOS data I
must set forth below factual allegations sufficient to state a claim against any such newly
named Defendant that does not appear in the ARCOS data.

Dated: September 16, 2019                      Signed: /s/ Anthony J. Majestro

Factual Allegations Regarding Individual Defendants

       1.1.            Defendants AMNEAL PHARMACEUTICALS, LLC, ETHEX

CORPORATION, KVK-TECH, INC., MYLAN PHARMACEUTICALS, INC., PAR


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PHARMACEUTICAL, INC., PAR PHARMACEUTICAL COMPANIES, INC., RHODES

PHARMACEUTICALS, L.P., SANDOZ, INC., SPECGX, LLC, AND WEST-WARD

PHARMACEUTICALS CORPORATION are hereby added as Defendants by this pleading

based on the following jurisdictional allegations:

       1.1.1           Defendant Amneal Pharmaceuticals, LLC (“Amneal”) is a Delaware

limited liability company with its principal place of business in Branchburg, New Jersey.

Amneal manufactures, promotes, distributes and/or sells opioids nationally, including many

Schedule II controlled substances such as Oxycodone and Hydrocodone. Amneal is registered to

conduct business and/or conducts business in Plaintiff’s community as a licensed wholesale

pharmaceutical distributor. Amneal distributed opioids, in violation of the duties owed to

Plaintiff as set forth in Plaintiff’s original complaint and the other allegations incorporated

herein, in sufficient quantities to be a proximate cause of Plaintiff’s injuries. Amneal is sued as a

Marketing Defendant.

       1.1.2           Defendant KVK-Tech, Inc. is a privately-held Pennsylvania corporation

with its principal place of business in Pennsylvania. KVK-Tech, Inc.is a manufacturer of generic

prescription opioids, including many Schedule II controlled substances such as Oxycodone and

Hydrocodone. KVK-Tech, Inc. manufactures, markets, sells and/or distributes pharmaceutical

drugs nationally and in Plaintiff’s Community. KVK-Tech, Inc. is registered to conduct business

and/or conducts business in Plaintiff’s community as a licensed wholesale pharmaceutical

distributor. KVK-Tech, Inc. distributed opioids, in violation of the duties owed to Plaintiff as set

forth in Plaintiff’s original complaint and the other allegations incorporated herein, in sufficient

quantities to be a proximate cause of Plaintiff’s injuries. KVK-Tech, Inc. is sued as a Marketing

Defendant.




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       1.1.3           Defendant Mylan Pharmaceuticals, Inc. dba Mylan Pharmaceuticals is a

West Virginia corporation with its principal place of business located in Morgantown, WV. Mylan

Pharmaceuticals is registered to conduct business and/or conducts business in Plaintiff’s

community as a licensed wholesale pharmaceutical distributor. Mylan Pharmaceuticals distributed

opioids, in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and

the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiff’s injuries. Mylan Pharmaceuticals is sued as a Marketing Defendant.

       1.1.4           Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its

principal place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a

wholly-owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical

Holdings, Inc. Defendant Par Pharmaceutical Companies, Inc. is a Delaware corporation with

its principal place of business located in Chestnut Ridge, New York. (Par Pharmaceutical, Inc.,

and Par Pharmaceutical Companies, Inc., collectively “Par Pharmaceutical”) was acquired by

Endo International plc in September 2015 and is an operating company of Endo International plc.

Par Pharmaceutical is registered to conduct business and/or conducts business in Plaintiff’s

community as a licensed wholesale pharmaceutical distributor. Par Pharmaceutical distributed

opioids, in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and

the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiff’s injuries. Par Pharmaceutical is sued as a Marketing Defendant.

       1.1.5           Defendant Rhodes Pharmaceuticals L.P. (“Rhodes”) is a Delaware

limited partnership formed in or around 2007 with headquarters located in Coventry, Rhode Island.

       1.1.6           Defendant Sandoz, Inc, (“Sandoz”) is a division of Novartis

Pharmaceuticals Corporation (“Novartis”) is registered as a Delaware corporation with its




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principal place of business in East Hanover, New Jersey. Sandoz is a Colorado corporation with

its principal place of business in Princeton, New Jersey.              Sandoz principally develops,

manufactures, markets, and distributes generic pharmaceutical products. Upon information and

belief, at all times relevant. Sandoz manufactured, promoted, distributed and/ir sold opioids

nationally, and in Plaintiff’s Community in violation of the duties owed to Plaintiff and in

sufficient quantities to proximately cause Plaintiff’s injuries as set forth herein.

        1.1.7           Defendant SpecGx, LLC is a Delaware limited liability company with its

headquarters in Clayton, Missouri and is a wholly owned subsidiary of Defendant Mallinckrodt

plc. SpecGx, LLC is registered to conduct business and/or conducts business in Plaintiff’s

community as a licensed wholesale pharmaceutical distributor. SpecGx, LLC distributed opioids,

in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and the other

allegations incorporated herein, in sufficient quantities to be a proximate cause of Plaintiff’s

injuries. SpecGx, LLC is sued as a Marketing Defendant.

        1.1.8           Defendant West-Ward Pharmaceuticals Corporation n/k/a Hikma

Pharmaceuticals USA Inc. (“West-Ward”) is a Delaware corporation with a principal place of

business in New Jersey. West-Ward is a provider of oral, liquid, inhalant, and injectable branded

and non-branded generic medicines. West-Ward is a manufacturer of generic prescription opioids,

including many Schedule II controlled substances such as Oxycodone and Hydromorphone. West-

Ward manufactures, markets, sells and/or distributes pharmaceutical drugs nationally and in

Plaintiff’s Community. West-Ward is registered to conduct business and/or conducts business in

Plaintiff’s community as a licensed wholesale pharmaceutical distributor. West-Ward distributed

opioids, in violation of the duties owed to Plaintiff as set forth in Plaintiff’s original complaint and




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the other allegations incorporated herein, in sufficient quantities to be a proximate cause of

Plaintiff’s injuries. West-Ward is sued as a Marketing Defendant.

                           COMMON FACTUAL ALLEGATIONS

        2.      By checking the boxes in this section, Plaintiff hereby incorporates by reference to
this document the common factual allegations set forth in the Summit County Pleadings as
identified in the Court’s Order implementing the Short Form procedure. Dkt. #1282.


   ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)


   ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)


   ☒ RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)

        3.      If additional claims are alleged below that were not pled in Plaintiff’s Existing
Complaint (other than the RICO claims asserted herein), the facts supporting those allegations
must be pleaded here. Plaintiff(s) assert(s) the following additional facts to support the claim(s)
identified in Paragraph 6 below (below or attached):
N/A
                                             CLAIMS

        4.      The following federal RICO causes of action asserted in the Summit County
Pleadings as identified in the Court’s implementing order and any subsequent amendments, Dkt.
1282, are incorporated in this Short Form by reference, in addition to the causes of action already
asserted in the Plaintiff(s)’s Existing Complaint (check all that apply):

   ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

   ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
   Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
   (Summit County Pleadings, Paragraphs 906-938)

       5.      Plaintiff asserts the following additional claims as indicated (below or attached):
N/A



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       6.      To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in

Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without

prejudice: N/A

       WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern

District of Ohio, MDL No. 2804 and in Plaintiff’s Existing Complaint as has been amended herein.

Dated: September 16, 2019                            /s/Anthony J. Majestro
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                              CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on this 16th day of September, 2019, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court CM/ECF Systems.



                                                  /s/Anthony J. Majestro
                                                  Anthony J. Majestro
                                                  Attorney for Plaintiff(s)




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